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Associates:
Michael P. Miller | Molly T. Zwerdlinger
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Gary M. Clexton
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Christopher J. Forrest
Mollie B. Hawes Martin P. Miller (1923-2007)

Gregory A. Eurich Robert M. Steiert, Retired

November 29, 2020

The Honorable Judge N. Reid Neureiter
U.S. Magistrate Judge

Rogers U.S. Courthouse

Denver, Colorado

Dear Judge Neuriter,

I am writing you at this time about a “distant nephew” by marriage Mr. Andres
Cuetara. I have known Andres for almost 30 years, since Sister Molly Munoz
brought him to Colorado from his home in Mexico. When he came to this country
he was without any language skills in either Spanish, English or “signing.” He
obviously was a very brave soul, coming to a strange land with no method of
communication, nor friends, no known family, in search of some means of
education with a desire to learn to communicate with others.

Sister Molly helped him enroll at CCD and got him signing interpreters that would
go with him to every class and help him learn the art of communication. What an
“uphill battle” Andres was facing, but he was diligent, highly motivated, and so
endearing to everyone that met him, that he very quickly became a part of this
community with loyal friends who truly cherished him.

At the time, my wife Laura Cuetara was a professor at UCD, and it didn’t take
Sister Molly too long to see her name, and introduce Andres to her and
consequently, me and our family. Andres became a part of our extended family
“overnight,” as he joined us for all holiday meals at my parent’s home, or at the
home of one of our siblings, when my mother could no longer host the holiday
parties.

At first it was hard to communicate and I would bring a legal pad and pen to every
event, and I would write out questions to Andres, and he would answer with a yes
or no signal and just a simple “thumbs up!” He always, always had a smile in his
face and love for all of us in his heart. Andres is one of the more gentle spirits and
caring individuals one could ever meet. He is a caring, friendly and gentle spirited
young man, that everyone in our family treasured and truly loved.

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As the years went on, one could see Andres learning to communicate better and
better. He became proficient in computer technology, learned to text and email
and found a form of communication that he never had available to him, in his
native country. In the early years, I had to go to Andres apartment in Edgewater
and pick him up and return him for every family gathering (unless we were having
our annual dinner at his apartment with Ken, Dave and Sister Molly), but after
time Andres saved up his money and bought a used car and he was able to drive to
our gatherings on his own. When he first got a car, I was worried that he might not
understand the need to get car insurance, so I asked him if he had it, and he was
pleased to pull out his card and show me he had insurance.

One of my favorite recollections of Andres was our “post-Christmas Eve”
gathering at our home in Washington Park. I have three brothers and sisters who
all have kids (now with many grand kids) so the gatherings were large and we
always invited Andres to our home after the gatherings to exchange presents. It
was always “easy” for us to get a present for Andres, but I don’t imagine it was
easy for him to get 6 presents, one for each of us. Every year he got 6 very
“thoughtful” presents and wrapped them for each of us to open. One year he took
6 beautiful photographs, with a camera that he had saved up and bought, of scenes
around the Denver Metro area. He had framed them and given them to us to
unwrap for our Christmas presents. We still have most of them hanging up in our
home today.

I started my practice of law as a deputy district attorney in the 18" Judicial District
and I did almost exclusively criminal defense for the first several years in private
practice. I still do some state criminal defense (about 15%-20% of my practice).
Through that experience, I humbly submit that I have been able to become a pretty
good judge of character. I can readily attest that Andres has the utmost honesty, the
greatest personal character, and the most respect for others that one could find in
any individual. He is under no circumstances a danger to anyone and is
trustworthy to the highest degree.

If I can be of any assistance to the court, or to any supervising authority, I will do
whatever is asked.

Sincerely,

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Michael P. Miller (Mike)
